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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                               July 18, 2024
                        IN THE UNITED STATES DISTRICT COURT                 Nathan Ochsner, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 CONSTANCE MILLARD and                       §
 GERALD KRELL, Individually                  §
 and as representatives of the Estate        §
 of Jason Krell, Deceased;                   §
 MICHELLE MARTIN, as executrix               §
 and next friend of A.P., E.P., and          §
 M.S., minors, and as representative         §
 of the Estate of Quinon Pitre,              §
                                             §
          Plaintiffs,                        §
                                             §
 v.                                          §       Civil Action No. H-24-1694
                                             §
 AMERICAN BUREAU OF                          §
 SHIPPING, et al,                            §
                                             §
           Defendants.                       §
                                           ORDER

        Pending before the Court is Plaintiff’s Motion to Remand (Document No. 11).

Having considered the motion, submissions, and applicable law, the Court

determines the motion should be granted.

                                  I. BACKGROUND

        This is a personal injury case. On April 13, 2021, Plaintiffs (“collectively

referred to as “Krell”) were killed or injured when the sea vessel they were aboard,

the SEACOR Power (“the Vessel”) capsized in the Gulf of Mexico. Krell contends

that Defendants (collectively referred to as “ABS”), a classification society that
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inspects maritime vessels for seaworthiness, was negligent in its inspections of the

Vessel, proximately causing the death and personal injury of seamen aboard the boat

during its sinking.

      Based on the foregoing, on April 10, 2024, Krell filed suit against ABS in the

Harris County District Court for the 190th Judicial District Court, bringing claims

for negligence, negligent misrepresentation and gross negligence. On May 6, 2024,

ABS removed this action to this Court on the basis of federal question jurisdiction

pursuant to the federal officer removal statute, 28 U.S.C. §1442(a)(1). On June 5,

2024, Krell moved to remand.

                           II. STANDARD OF REVIEW

      A defendant may remove a case to federal court if the federal court has subject

matter jurisdiction to hear the original complaint. 28 U.S.C. § 1441(a). Federal

courts have limited jurisdiction, so any doubts regarding whether federal jurisdiction

is proper are resolved against federal jurisdiction. Acuna v. Brown & Root, Inc., 200

F.3d 335, 339 (5th Cir. 2000). When evaluating a motion to remand, all factual

allegations are considered in the light most favorable to the plaintiff, and any

contested fact issues are resolved in the plaintiff’s favor. Guillory v. PPG Indus.,

Inc., 434 F.3d 303, 308 (5th Cir. 2005). Gasch v. Harford Acc. & Indem. Co., 491

F.3d 278, 281–82 (5th Cir. 2007). A removing party must show both the existence




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of federal jurisdiction and the propriety of removal. Mumfrey v. CVS Pharmacy, Inc.,

719 F.3d 392, 397 (5th Cir. 2013).

      A federal court may only assert subject matter jurisdiction over a matter when

authorized by the federal constitution or by statute. Energy Mgmt. Servs., LLC v.

City of Alexandria, 739 F.3d 255, 257 (5th Cir. 2014). A federal court may exercise

jurisdiction over any civil action arising under the federal constitution, statutes, or

treaties. 28 U.S.C. § 1331. A case arises under federal law when a plaintiff's “well-

pleaded complaint establishes either that federal law creates the cause of action or

that the plaintiff’s right to relief necessarily depends on the resolution of a substantial

question of federal law.” Griffith v. Alcon Rsch., Ltd., 712 F. App’x 406, 408 (5th

Cir. 2017) (per curiam).

                               III. LAW & ANALYSIS

      Krell moves to remand this case to state court, contending ABS has

improperly removed this case under federal officer jurisdiction. A defendant may

remove a state court action under the federal officer removal statute codified if the

defendant can show (1) it is a person under the meaning of the statute; (2) it has acted

pursuant to the direction of a federal office or agency; (3) the charged conduct relates

to an act pursuant to the direction of a federal officer or agency; and (4) it can assert

a colorable federal defense. Latiolais v. Huntington Ingalls, Inc., 951 F.3d 286, 296

(5th Cir. 2020).



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       Krell argues ABS failed to show three required elements to satisfy removal

pursuant to the federal officer removal statute. Krell contends ABS cannot show that:

“(1) it acted pursuant to a federal officer’s directions; (2) the charged conduct is

connected or associated with an act pursuant to a federal officer’s directions; and (3)

it has asserted a colorable federal defense.” 1 ABS contends that: (1) federal officer

jurisdiction is proper because ABS is an entity acting on behalf and under the

direction of the United States Coast Guard (“USCG”); (2) the allegations against

ABS are related to acts performed pursuant to federal direction; and (3) ABS can

show a colorable federal defense. The Court will consider whether ABS acted

pursuant to the USCG’s directions.

A.     Acting Pursuant to a Federal Officer’s Directions

       For a defendant to prevail under the federal officer removal statute, it must

show that it was acting under the direction of a federal officer or agency, which

requires the federal officer or agency to “exert a sufficient level of subjection,

guidance, or control.” St. Charles Surgical Hosp., L.L.C. v. La. Health Ser. & Indem.

Co., 990 F.3d 447, 455 (5th Cir. 2021). The Fifth Circuit has made clear that mere

compliance with federal regulations is insufficient to satisfy this element, “even if

the law involves intense government regulations.” Martin v. LCMC Health



       1
           Plaintiff’s Motion to Remand, Document No. 1 at 1.


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Holdings, Inc., 101 F.4th 410 (5th Cir. 2024). To determine whether an entity acted

under a federal officer’s directions, the Fifth Circuit has instructed courts to examine

both the relationship between the private entity and the government, and the contents

of the contract. See St. Charles Surgical Hosp., 990 F.3d at 454–455.

      Here, Krell contends that this court should follow the decision made in

Jackson v. Am. Bureau of Shipping and find that “ABS cannot claim federal officer

jurisdiction for all acts merely because [the United States Coast Guard] imposes

strict standard on ABS before allowing it to perform inspections.” Jackson v. Am.

Bureau of Shipping, 2020 WL 1743541 (S.D. Tex. May 14, 2020) (Miller, J.). Krell

supports this contention by arguing that the memorandum of understanding (“the

Contract”) between ABS and the USCG does not give rise to the kind of subjection,

guidance, or control required to satisfy the federal officer removal statute. Krell cites

the language of the Contract, which states: “[ABS] is hereby authorized to carry out

statutory certification and services on behalf of the Administration,” 2 but points out

for the Court that the Contract specifically allows ABS to establish its own rules and

regulations to carry out these services, by noting language in the Contract which

states: “[ABS] shall establish, publish, and systematically main its rules and/or




      2
        Plaintiff’s Motion to Remand, Document No. 11, Exhibit D (Memorandum of
Understanding) at ¶4.1.


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regulations.” 3 Krell contends that the USCG did not exercise adequate control by

failing to direct ABS how to perform its inspections or prescribe the rules it should

follow in doing so.

      ABS contends that it is a recognized organization specifically identified by

statute to perform inspections of sea vessels on behalf of the USCG. ABS further

contends that it is a designated agent of the USCG and is subject to extensive

regulations that dictate to ABS how to conduct inspections aboard sea vessels. ABS

asserts that its statutory relationship with the USCG shows that ABS does not merely

comply with federal regulations, but rather, adhered to a litany of statutes and

provisions that govern ABS’s work on behalf of the USCG.

      On balance though, the Federal Circuit has made clear that being subject to

pervasive federal regulation alone is not sufficient to confer federal jurisdiction,

“even if the regulation is highly detailed and even if the private firm’s activities are

highly supervised and monitored.” Glenn v. Tyson Foods, Inc., 40 F.4th 230, 235–

36 (5th Cir. 2022) (citing Watson v. Phillip Morris Cos., 551 U.S. 142, 153 (2007)).

Based on the foregoing, the Court finds that ABS failed to demonstrate that the

USCG exercised the requisite amount of control such to demonstrate ABS acted

pursuant to a federal officer’s direction.



      3
          Memorandum of Understanding, supra note 2 at ¶7.4.


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B.     Remaining Elements

       Krell also contends that ABS fails to meet other required elements under the

federal officer removal statute, arguing that ABS cannot show either that the charged

conduct is connected with an act pursuant to a federal officer’s directions, or that

ABS has a colorable federal defense. Given the Court’s finding above that ABS

failed to meet a dispositive element and demonstrate that it acted pursuant to a

federal officer’s direction, the Court need not address the remaining elements in

dispute.

       Additionally, the parties are not diverse and there is no other means for this

Court to assert subject matter jurisdiction over this case. Thus, this action was not

removable on the basis of federal question jurisdiction, as found above, nor is there

any other basis for federal subject matter jurisdiction. Accordingly, Krell’s motion

to remand this action to the Harris County District Court for the 190th Judicial

District is granted.

                                 IV. CONCLUSION

       Accordingly, the Court hereby

       ORDERS that Plaintiff’s Motion to Remand (Document No. 4) is

GRANTED. This case is hereby REMANDED to the Harris County District Court

for the 190th Judicial District Court.




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  SIGNED at Houston, Texas, on this 18th day of July, 2024.




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